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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Honorable Marcia S. Krieger

   Civil Action No. 11-cv-00102-MSK-KLM

   DANIEL MARTINEZ, JR.;
   NATHAN MARTINEZ;
   DANIEL MARTINEZ III; and
   JONATHAN MARTINEZ,

                  Plaintiff,

   v.

   JASON VALDEZ,
   ROBERT MARTINEZ,
   ROBERT MOTYKA, and
   BRYCE JACKSON,

               Defendants.
   ______________________________________________________________________________

     OPINION AND ORDER GRANTING IN PART AND DENYING IN PART MOTION
      FOR NEW TRIAL AND GRANTING IN PART MOTION FOR ATTORNEY FEES
   ______________________________________________________________________________
          THIS MATTER comes before the Court pursuant to the Plaintiffs’ Motion for

   Prejudgment Interest (# 140), and the Defendants’ response (# 147); the Defendants’ Motion for

   New Trial or Remittitur (# 145, as amended # 146), the Plaintiffs’ response (# 148), and the

   Defendants’ reply (# 153); and the Plaintiffs’ Motion for Attorney Fees and Costs (# 156), the

   Defendants’ response (# 172), and the Plaintiffs’ reply (# 175, as supplemented # 176).

                                                FACTS

          The Court assumes the reader’s familiarity with the proceedings to date. Thus, it offers

   only a limited factual summary here and elaborates as necessary in the analysis.

          This action arises from an incident that occurred on January 9, 2009. On that date, the

   Defendants, Denver Police Officers, went to the Plaintiffs’ residence, ostensibly to conduct a


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   “knock and talk,” inquiring about possible criminal activity occurring in the neighborhood. The

   parties sharply disputed the ensuing events, but it is sufficient to note that the Defendants entered

   the residence and a physical altercation ensued between the Plaintiffs and Defendants inside the

   house. The Defendants eventually subdued the Plaintiffs and placed them under arrest. The

   Defendants were charged with various forms of criminal assault, supported primarily by the

   testimony of the Defendants. Plaintiffs Nathan Martinez (“Nathan”) and Daniel Martinez III

   (“Daniel III”) proceeded to trial on those criminal charges and were acquitted by a jury; the

   charges against the remaining Defendants were thereafter dropped.

           The Plaintiffs commenced this civil action against the Defendants, raising various claims

   under 42 U.S.C. § 1983 arising from the Defendants’ entry into the residence, the altercation, the

   arrests, and the ensuing criminal prosecution. The case proceeded to a jury trial in September

   2014. The jury entered the following verdict:

           Claim 1 - Unlawful entry: Verdict for the Plaintiffs as against Defendants Martinez and

   Valdez; verdict in favor of Defendant Motyka.

           Claim 2 – Use of Excessive Force: Verdict for all four Defendants, based on a finding

   by the jury that the amount of force used by the Defendants was not excessive.

           Claim 3 – False Arrest: Verdict for the Plaintiffs as against the individual officer

   effecting each of their arrests.1

           Claim 4 – Malicious Prosecution: Verdicts in favor of the Defendants as against all

   Plaintiffs.2




   1
           Daniel Martinez Jr. was arrested by Defendant Robert Martinez. Nathan Martinez was
   arrested by Defendant Motyka. Daniel III was arrested by Defendant Jackson. Jonathan
   Martinez was arrested by Defendant Valdez.

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             Claim 4a – Continued Malicious Prosecution: Verdict in favor of Plaintiff Jonathan

   Martinez against Defendant Valdez.


             Based on these verdicts, the jury awarded the following damages against the following

   Defendants:


                     Type of           Defendant          Defendant        Defendant     Defendant
        Plaintiff
                     Damages           Martinez            Motyka           Jackson       Valdez

                       Actual           $ 60,000               $0              $0         $ 40,000

       Daniel Jr.     Punitive         $ 100,000           $ 62,500            $0         $ 100,000

                       Total           $ 160,000           $ 62,500            $0         $ 140,000

                       Actual           $ 25,000            $75,000            $0         $ 25,000

        Nathan        Punitive         $ 100,000           $ 62,500            $0         $ 100,000

                       Total           $ 125,000           $ 137,500           $0         $ 125,000

                       Actual           $25,000                $0           $ 40,000      $ 25,000

       Daniel III     Punitive         $ 100,000           $ 62,500            $0         $ 100,000

                       Total           $ 125,000           $ 62,500         $ 40,000      $ 125,000

                       Actual           $ 25,000              $0               $0         $ 200,000

    Johnathan         Punitive         $ 100,000           $ 62,500            $0         $ 300,000

                       Total           $ 125,000           $ 62,500            $0         $ 500,000



             The parties then filed the instant post-verdict motions. The Plaintiffs moved for an award

   of prejudgment interest (# 140), suggesting that the Court apply the statutory 9% interest rate of


   2
           The Verdict Form reflects that the jury found that Defendant Jackson did not make any
   statements that led to the prosecution of Plaintiffs Daniel Martinez Jr. (“Daniel Jr.”) or Nathan
   Martinez; that Defendants Motyka and Jackson’s statements concerning Plaintiffs Daniel III and
   Jonathan Martinez were supported by probable cause (and that Defendants Martinez and
   Valdez’s statements were not); and that Defendants Martinez and Valdez’s statements as to all
   Plaintiffs were not made with malice.
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   C.R.S. § 13-21-101, resulting in a total award of approximately $ 340,000 in prejudgment

   interest. The Defendants moved for a new trial and for remittitur (# 145, as amended # 146),

   arguing that: (i) a new trial should be granted because the jury’s verdict is inconsistent and

   irreconcilable, (ii) the total of $ 1.25 million in punitive damages is excessive and arbitrary, (iii)

   new trial or remittitur is warranted with regard to the actual damage awards by the jury because

   such awards are excessive and inconsistent with the evidence at trial. The Plaintiffs also moved

   for an award of attorney fees and costs (# 156), seeking a total of approximately $ 478,000 in

   attorney fees (plus an unspecified multiplier due to the difficulty of the case) and approximately

   $ 18,000 in costs.3

                                                ANALYSIS

          A. Motion for New Trial

          Because the Plaintiffs’ motions presuppose the verdict standing (in whole or part), it is

   appropriate to first consider the Defendants’ motion seeking either a new trial or remittitur.

                  1. Internal inconsistency in the verdict

          The Defendants first argue that the verdict should be set aside and a new trial granted

   because the jury’s verdict is inherently inconsistent and irreconcilable in three different respects:

   (i) the finding that all of the Defendants lacked probable cause to arrest (Claim 3) is inconsistent

   with the finding that Defendants Motyka and Jackson had probable cause for the statements they

   made later during the prosecution of Daniel Jr. and Nathan Martinez, such that they were not

   liable for malicious prosecution (Claim 4); (ii) the finding that Defendant Motyka’s entry into the

   residence was justified by exigent circumstances (Claim 1) is inconsistent with the finding that



   3
           On March 3, 2015, the Clerk of the Court taxed costs (# 162) in the amount of
   $14,679.86. The Plaintiffs have not supplemented their motion identifying those costs that were
   not taxed by the Clerk and arguing which such costs should nevertheless be awarded.
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   no probable cause existed to arrest the Plaintiffs (Claim 4), as Defendant Motyka testified that he

   entered the residence to protect Defendant Valdez from being assaulted; and (iii) the finding that

   Defendant Valdez engaged in malicious prosecution by continuing the prosecution of Plaintiff

   Jonathan Martinez (Claim 4a) is inconsistent with the finding that Defendant Valdez did not

   engage in the malicious prosecution of Jonathan initially (Claim 4). The Defendants argue that

   the jury’s failure to follow an instruction on the verdict form is further evidence of jury

   “confusion.”

          Courts may set aside jury verdicts that are fundamentally inconsistent, but they must do

   so with great reluctance and considerable deference to the jury’s factfinding. Johnson v. Ablt

   Trucking Co., 412 F.3d 1138, 1143-44 (10th Cir. 2005). A new trial is warranted only where “the

   essential controlling findings are in conflict” and there is no “plausible theory that supports the

   verdict.” Id. The mere fact that it may be difficult to reconcile apparently conflicting verdicts is

   not, of itself, grounds for granting a new trial. Id. Relief is appropriate only when it is

   impossible to reconcile the verdicts. Id.

                          a. Failure to submit a trial transcript

          Before turning to the merits of the Defendants’ argument, the Court must first address

   two preliminary issues. First, the Court notes that an attack on a jury verdict because it is

   inherently inconsistent is a factually-intensive matter, requiring careful examination of the trial

   record to ascertain precisely what evidence was presented in support of each claim and what

   factual theories counsel presented in closing arguments. Especially in cases such as this, where

   the operative facts were highly disputed and the key evidence was testimonial rather than

   documentary, it is nearly impossible to present such a challenge without supplying a trial

   transcript. It is not sufficient for counsel to present such a motion relying entirely on counsel’s



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   recollections and characterizations of the testimony, rather than by means of specific citations to

   and quotations from the trial record; such recollections and characterizations are often mistaken

   about the precise content of the testimony, skewed, conflated with statements made by witnesses

   outside of trial, or otherwise unreliable in a host of ways.4 Moreover, the failure to supply a

   transcript prevents a party from specifically citing the Court to the particular location in the

   record where the evidence may be found; general references to “witnesses testified that . . .” or

   even “witness X testified that . . . “ require the Court to canvass the record and speculate about

   which particular statements by a witness the party is relying upon. This improperly requires the

   Court to adopt the role of advocate.

             Accordingly, a party seeking to set aside a verdict on the grounds of inconsistency will

   almost always be required to supply the Court with a transcript of the pertinent portions of the

   record (as will a party opposing such a motion). Because the Defendants here did not file a

   transcript of the trial and have relied solely upon their own recollections and characterizations of

   the trial testimony, the Court denies the Defendants’ motion for that reason alone. (Nevertheless,

   for purposes of completeness, the Court will proceed to discuss the Defendants’ motion in light

   of the record as reflected in the unofficial rough transcript prepared by the Court Reporter during

   trial.)

                    b. Failure to timely object to verdict

             The second threshold issue concerns the Plaintiffs’ contention that the Defendants have

   waived any ability to seek a new trial based on an inconsistent verdict because they failed to

   object to the verdict on that ground prior to the Court discharging the jury. In Johnson, the 10th



   4
          This is precisely the case here: both sides present counsel’s own recollections and
   characterizations of the facts, but as discussed below, careful review of the record often does not
   support such contentions.
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   Circuit explained that “a party waives the right to object to inconsistencies in a general verdict

   with special interrogatories if it does not object on that ground before the jury is discharged,”

   requiring the court to conduct only a plain error review of the verdict. Id. at 1141. It went on to

   note that “[w]hen the jury returns a special verdict, however, a party is not required to object to

   inconsistencies in the verdict before the jury is discharged in order to preserve the issue.” Id.

   Thus, the parties’ first point of dispute is whether the Court requested the jury to return a

   “general verdict with special interrogatories” or a “special verdict.”

          A “general verdict” is one that “requires the jury to announce the ultimate legal result of

   each claim”; a “special verdict” is one which “presents the jury with specific questions of fact

   such that after the jury returns its verdict, the court applies the law to the facts found by the jury

   and enters judgment accordingly.” Id. at 1142. The verdict form used by this Court is

   unambiguously a special verdict form, requiring the jury to make specific factual determinations;

   the Court then enters judgment on the various claims consistent with the jury’s factual findings.

   At no time is the jury asked to make findings of legal liability or to announce the legal rights of a

   party. Indeed, the verdict on Claim 4 demonstrates the point. The jury made factual findings

   that, for example, Defendants Jackson and Motyka’s statements during the Plaintiffs’

   prosecution were not without probable cause. The legal effect of such a finding is that it defeats

   a malicious prosecution claim because a lack of probable cause is an essential element of such a

   claim. But the jury was not asked to go on and affirmatively state that it was finding a verdict

   for those Defendants as a result of its factual findings. Put differently, applying the law to the

   jury’s findings is a role that this Court assumes when entering judgment. The Plaintiffs’

   response to the motion contends that “it is clear . . . that the Court submitted a general verdict




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   form with special interrogatories,” but beyond stating that proposition, the Plaintiffs do not

   elaborate on this argument, perhaps because it is fundamentally untenable.

           Thus, because it is apparent that the verdict form used here was a special verdict, not a

   general verdict with interrogatories, the Defendants’ failure to object to the alleged inconsistency

   prior to the jury’s discharge does not preclude the instant request for a new trial.

                          c. Merits

           The Court then turns to the particular inconsistencies asserted by the Defendants.

                                  (i). False arrest vs. Malicious Prosecution

           To avoid double negatives (and admittedly misrepresenting the burden of proof in the

   process) the Court restates the jury’s findings with regard to Claim 3 and Claim 4. On Claim 3,

   knew the jury found that each Plaintiff proved that he was arrested for assaulting a police officer

   without probable cause (that is, without the officer having an objectively-reasonable basis to

   believe that the Plaintiff had committed a crime); this resulted in a verdict against each

   individual Defendant. However, the jury also found on Claim 4 that the Plaintiffs did not prove

   that Defendants Motyka and Jackson made statements the criminal proceedings against the

   Plaintiffs without probable cause (that is, without the officer having a subjectively-reasonable

   basis to believe that the testimony was truthful and accurate); this resulted in a judgment for

   Defendants Motyka and Jackson. Thus, the Defendants argue that there is an inherent

   inconsistency between the jury finding that Defendant Motyka and Jackson had probable cause

   to make statements supporting the criminal prosecution of the Plaintiffs for assault on a police

   officer, but did not have probable cause to arrest the Plaintiffs for assault on a police officer in

   the first place.




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          Based on the limited evidentiary record regarding these Defendants’ involvement in the

   prosecution of the Plaintiffs, the Court disagrees. The Court will assume, for purposes of this

   motion, that the jury’s verdict on the False Arrest claim was properly supported by the record –

   i.e. that the Defendants lacked probable cause to arrest the Plaintiffs for assault. (The

   Defendants do not argue that such a verdict is contrary to the evidence.) Then the Court turns to

   the factual record regarding the precise statements Defendants Motyka and Jackson made during

   the Plantiffs’ criminal prosecution. That record is fairly skeletal. Only two admitted exhibits

   relate to any of the Plaintiffs’ criminal prosecutions, Exhibits 163 and 164. Exhibit 163 consists

   of a two-page Criminal Summons and Complaint, charging Daniel III with 3d Degree Assault on

   a Police Officer. (The remainder of the exhibit consists of the docket sheet for that criminal

   prosecution.) The Summons page is apparently signed by Police Officer James Medina, a non-

   party to this case.5 The second page of the document contains a narrative statement, apparently

   given by Defendant Valdez as the Complainant and recorded and signed by Defendant Martinez

   as the receiving officer. Exhibit 164 is a similar document, asserting the same charge against

   Nathan Martinez. Once again, it appears that Officer Medina signed the Summons page. The

   second page of this exhibit is similar to Exhibit 163 – a narrative statement given by Defendant

   Valdez and recorded by Defendant Martinez, signed by Defendant Martinez. Thus, the record

   does not reflect the contents of any written statements6 by Defendants Motyka and Jackson,




   5
           The Court reaches this conclusion based on the badge no., 99072, which accompanies the
   otherwise illegible signature on the Summons. The final pages of Exhibit 163 include a list of
   the police officers pertinent to the criminal case and their corresponding badge numbers. Badge
   no. 99072 belongs to Officer Medina. This is also consistent with another endorsement on the
   Summons page that appears to read “JM99072,” Officer Medina’s initials and badge number.
   6
          Defendant Motyka testified that he “generated one report” as a result of this incident.
   That report (Exhibit 64) was tendered to Defendant Motyka during his testimony but it was never
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    much less demonstrate that such statements precipitated the initiation of criminal charges against

    the Plaintiffs.

            The Court then turns to the oral testimony regarding the criminal prosecution and the role

    played by Defendants Motyka and Jackson in it. Considering Defendant Motyka first, he

    testified here that he gave testimony in “their criminal trial” – apparently the joint trial of Daniel

    III and Nathan – on or about January 4, 2010. Defendant Motyka was not asked about, and did

    not generally describe, the testimony he gave at the trial. However, there is some indirect

    testimony that revealed certain details about the contents of Defendant Motyka’s 2010 testimony.

    On one occasion, the Plaintiffs’ counsel here sought to impeach Defendant Motyka’s testimony

    with the transcript of his 2010 trial testimony,7 on an issue concerning the sequence in which the

    Defendants entered the residence. Defendant Motyka admitted that the testimony he had given

    at this trial and the testimony given at the 2010 criminal trial were inconsistent, and he attributed

    that disparity to a mistaken present recollection. On another occasion, the Plaintiffs’ counsel

    sought to impeach Defendant Motyka’s testimony here with his apparently inconsistent 2010

    trial testimony concerning when he heard yelling from inside the residence. Defendant Motyka’s

    response was to thank Plaintiffs’ counsel for “refreshing my memory.” On a third occasion,

    Defendant Motyka was confronted with testimony he gave at the 2010 trial in which he

    apparently stated that the situation inside the residence was “cordial” at one point in time, and

    Defendant Motyka explained here that that testimony was specifically addressing relations

    between another officer and one of the Plaintiffs. On yet another occasion, counsel used the



    offered or received into evidence and Defendant Motyka never described the contents of the
    report nor testified who may have acted upon its contents and how.
    7
            The Court’s records do not indicate that the transcript of the 2010 trial was admitted as an
    exhibit.
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    2010 testimony transcript to refresh Defendant Motyka’s recollection of whether Defendant

    Valdez made it all the way into the living room.

           The record appears to reflect that Defendant Motyka also testified on or about August 13,

    2009 (or possibly August 7, 2009), at a “pretrial motions hearing” in Daniel III and Nathan’s

    criminal case. As with the 2010 criminal trial, the testimony Defendant Motyka gave at the

    motions hearing was transcribed and used to impeach Defendant Motyka’s testimony in this trial.

    But, like the trial transcript, the transcript from the motions hearing was not offered as an exhibit

    and thus, the record here contains only indirect references as to what Defendant Motyka’s 2009

    testimony may have been. Defendant Motyka appeared to agree with the Plaintiffs’ counsel here

    that the transcript from the motions hearing referenced Defendant Motyka testifying that he

    punched Nathan Martinez in the jaw and that he saw all four Plaintiffs punching Defendant

    Valdez about the head and shoulders.

           From this record, it is clear that the jury’s response to Question 7 on the verdict form --

    finding that Defendant Motyka made statements that caused the criminal prosecution of Daniel

    III and Nathan to proceed8 -- was supported by the evidence. Although the record does not

    indicate that Defendant Motyka caused the criminal prosecution of the Plaintiffs to be initiated,

    malicious prosecution claims may be brought against persons who were not involved with the

    initiation of criminal charges. A witness who gives testimony, unsupported by probable cause,

    may be liable for malicious prosecution if that witness’ testimony causes the prosecution to

    continue. Pierce v. Gilchrist, 359 F.3d 1279, 1291-92 (10th Cir. 2004). Here, the record reflects

    8
            The Court observes that the jury instruction it gave on the malicious prosecution claim, to
    which neither party objected, asked the jury whether “the criminal case brought against [the
    Plaintiffs] was brought as a result of oral or written statements made by [the Defendants].”
    (Emphasis added.) The Defendants have not argued here that a new trial is warranted because
    that instruction was somehow defective, and thus, the Court does not consider that question.

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    that Defendant Motyka made one or more statements that furthered the prosecution of Daniel III

    and Nathan, possibly including: (i) that the officers entered the residence in a particular

    sequence; (ii) that Defendant Motyka heard yelling from inside the residence at a particular point

    in time; (iii) that the communications between one of the officers and one of the Plaintiffs was

    “cordial” at one point in time; (iv) that Defendant Valdez made it into the living room at one

    point; (v) that Defendant Motyka punched Nathan in the jaw; and (vi) that Defendant Motyka

    saw Nathan punching Defendant Valdez at one point in time.

           On Question 8, however, the jury apparently found that Defendant Motyka had probable

    cause for – that is, a reasonable belief in the accuracy of – the statements he made at the time

    they were given in 2009 and 2010. Framed as such, it is immediately apparent that there is no

    inconsistency between the finding that the Defendants lacked probable cause to arrest the

    Plaintiffs and the first five statements by Defendant Motyka. The sequence in which officers

    entered the residence or the fact that Defendant Motyka punched Nathan in the jaw, for example,

    do not bear in any way on the question of whether the Defendants had probable cause to believe

    that the Plaintiffs had engaged in criminal assaults upon police officers. Because the jury’s

    finding on Question 7 might arguably have included only one or more of the first five statements,

    a finding that Defendant Motyka reasonably believed in the truth of those statements is in no way

    inconsistent with a finding that the Defendants lacked probable cause to arrest the Plaintiffs.9



    9
             Arguably, the sixth statement – that Defendant Motyka saw Nathan punching Defendant
    Valdez at one point in time – could superficially be perceived as inconsistent with the jury’s
    finding that the Defendant Motyka lacked probable cause to arrest Nathan. After all, if
    Defendant Motyka reasonably believed he saw Nathan punching Defendant Valdez, Defendant
    Motyka might have had probable cause to believe that Nathan had committed an assault on
    Defendant Valdez and thus had probable cause to effect Nathan’s arrest.
             For the verdicts to be inconsistent, one would first have to assume that the jury included
    this statement among those that they found Defendant Motyka to have made during the criminal
    prosecution. Even so, the Court nevertheless finds that the jury’s verdict can still be reconciled.
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    Accordingly, the Court cannot say that the jury’s verdicts on Claim 3 and Claim 4 as to

    Defendant Motyka are so inherently inconsistent that a new trial is required.

           A similar, albeit simpler, analysis applies to Defendant Jackson. The jury found that

    Defendant Jackson made statements that furthered the criminal prosecutions of Daniel III and

    Jonathan Martinez, but did not make statements regarding Nathan or Daniel Jr.10 As with



    Defendant Motyka’s 2009 testimony apparently did not address the events that precipitated the
    Plaintiffs, including Nathan, punching Defendant Valdez. Thus, the jury might reasonably have
    concluded that Defendant Motyka could have reasonably described seeing the punching
    occurring, yet still lack probable cause to believe that such punching constituted an assault.
    Colorado law recognizes that an individual may resist an unlawful application of force by a
    police officer by responding with force of their own. C.R.S. § 18-1-704. Although the Court did
    not instruct the jury on this provision of law, the Plaintiffs counsel alluded to the same notion
    during the questioning of Defendant Motyka, suggesting to him that “you can understand the
    concept of provocation, right?” It may be that the jury concluded that the jury concluded that
    Nathan had a legal justification to punch Defendant Valdez, as he was observed doing by
    Defendant Motyka, and yet because Defendant Motyka did not see the events preceding
    Nathan’s punch, Defendant Motyka lacked knowledge as to whether Nathan’s punch had been
    provoked by Defendant Valdez, and thus, lacked probable cause to believe that the punch was a
    criminal act sufficient to justify arresting Nathan. Or it may simply be that the jury overlooked
    this statement about seeing Nathan punch Defendant Valdez when it was deliberating on the
    malicious prosecution claim.
    10
            Although it may very well be that the jury may have been confused or mistaken in this
    regard, given that Daniel III and Nathan were tried simultaneously, there is at least a conceivable
    explanation for a portion of the jury’s findings. The record reflects that Defendant Jackson was
    the officer who arrested Daniel III, and it is undisputed that Daniel III was later the subject of
    criminal prosecution. Although, as noted herein, there is absolutely no evidence in the record as
    to whether Defendant Jackson participated in that criminal prosecution at all, the jury may have
    reasonably inferred that the police officer who effectuated the arrest of Daniel III would have
    played at least some role in Daniel III’s prosecution. Thus, the jury may have concluded that the
    record supported an inference that Defendant Jackson must have participated in Daniel III’s
    prosecution in some abstract way, but found no evidence that he would have made any
    statements furthering Nathan’s simultaneous prosecution.
            There is less of an explanation for the jury’s finding that Defendant Jackson made
    statements furthering the criminal prosecution of Jonathan Martinez. Neither Defendant Jackson
    nor Jonathan testified as to Defendant Jackson being involved in that proceeding, and although
    the Plaintiffs’ counsel used Exhibit 165 – a Petition in Juvenile Delinquency concerning
    Jonathan, which lists Defendant Jackson as one of the potential witnesses – to refresh Jonathan’s
    recollection on an unrelated point, that exhibit was not offered or admitted and was not
    considered by the jury. Ultimately, however, even a factually-unsupported finding by the jury
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    Defendant Motyka, there is no general summary of the statements or testimony that Defendant

    Jackson gave during the criminal prosecutions. Indeed, as best the Court can determine, neither

    party adduced any facts from Defendant Jackson, Daniel III, or Jonathan about Defendant

    Jackson’s testimony during the criminal proceedings in this action. Because there is no evidence

    of the actual statements that Defendant Jackson may have made during these prosecutions, there

    is no evidence to suggest that those statements – found by the jury to have been supported by

    probable cause – are somehow inconsistent with the conclusion that Defendant Jackson lacked

    probable cause to arrest Daniel III. Indeed, the jury’s verdict regarding the malicious

    prosecution claim can be understood as a finding that the Plaintiffs simply failed to carry their

    burden of proving that Defendant Jackson’s statements during the criminal prosecution were

    made without probable cause, perhaps because the Plaintiffs failed to provide evidence of what

    those statements even were.

           Accordingly, the Court finds no inconsistency between the jury’s verdicts as to

    Defendant Jackson on Claims 3 and 4.

                                  (ii). Unlawful entry and probable cause

           This argument focuses on a narrower question. On Claim 1, Unlawful Entry, the jury

    found that Defendant Motyka entered the Plaintiffs’ residence without probable cause or consent,

    but found that the Defendants had proven an affirmative defense that Defendant Motyka’s entry

    was justified by exigent circumstances. The Defendants argue that the exigency in question was



    regarding Defendant Jackson’s involvement in Jonathan’s criminal case is irrelevant. There is no
    contention that the jury’s findings – that Defendant Jackson made statements in Jonathan’s
    prosecution but that such statements were supported by probable cause – is necessarily
    inconsistent with the jury’s finding that Defendant Jackson lacked probable cause to arrest
    Daniel III. Although the Defendants argue that the verdict form evidences generalized jury
    confusion, that confusion is immaterial in the absence of an actual inconsistency in the verdicts
    that were returned.
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    because Defendant Motyka “saw Officer Valdez being assaulted by the Plaintiffs.” Thus, the

    Defendants argue, “if . . . Defendant Motyka’s entry into the home was justified by . . . the

    immediate need to protect the life or safety of Defendant Valdez[,] then probable cause

    necessarily existed for Defendant Motyka’s arrest of Nathan Martinez.”

           This argument suffers from a fatal logical flaw because it depends on an unstated premise

    -- that “if an exigency exists, police therefore have probable cause to arrest the person creating

    the exigency” – that is false. The Court will assume, for the moment, that Defendant Motyka did

    indeed see Defendant Valdez under attack and that that was a valid reason for Defendant Motyka

    to enter the residence in order to quell the altercation. But for the same reasons discussed above,

    the mere fact that Defendant Motyka saw Nathan (among others) striking Defendant Valdez is

    not enough, of itself, to amount to probable cause to thereafter arrest Nathan for assault. If

    Nathan was striking Defendant Valdez lawfully in self-defense – because Defendant Valdez had

    unlawfully initiated the physical contact – his striking of Defendant Valdez would be lawful and

    Defendant Motyka would not have cause to arrest Nathan, even though Defendant Motyka

    entered the premises under exigent circumstances to break up the altercation.11 Because cause to

    make an arrest does not follow, inexorably, from the right to enter a premises due to exigency,




    11
            Admittedly, the somewhat lenient standard of “probable cause” necessary to justify an
    arrest does not require Defendant Motyka to have omniscience about how the altercation began.
    Defendant Motyka is permitted to act on the circumstances as they appeared to a reasonable
    police officer under the circumstances. But because Defendant Motyka testified that he could
    not recall the circumstances of how the altercation began, the jury could have concluded that it
    would be unreasonable for a police officer coming upon a fistfight to necessarily assume,
    without further evidence, that one party started the fight over the other. Moreover, the jury’s
    finding on the false arrest claim – that all of the Defendants lacked probable cause to arrest the
    Plaintiffs – suggests that the jury found that the Defendants either lied amongst themselves about
    the circumstances leading up to the fight or failed to reasonably perceive or investigate those
    circumstances.
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    the Defendants’ argument that there is an inconsistency between the jury’s verdict as to

    Defendant Motyka on Claims 1 and 4 is without merit.

                                  (iii). Malicious Prosecution and Continuing Malicious Prosecution

           Finally, the Defendants argue that there is an inherent inconsistency between the jury’s

    finding that Defendant Valdez did not act with malice when he made unsupported statements

    against Jonathan Martinez, such that he was not liable for malicious prosecution, but that he

    engaged in “continuing malicious prosecution” by maliciously making unsupported statements

    that prolonged Jonathan’s prosecution.

           The record reflects that Jonathan was initially charged with Assault in the Second Degree

    on a Police Officer, a felony. Defendant Valdez testified that he completed a “probable cause

    statement” after the incident, but that the decision as to what charges to file was made

    independently by a District Attorney. Although the Plaintiffs attempted to impeach Defendant

    Valdez about whether he had discussions with the District Attorney prior to the initial filing of

    charges, the substantive evidence in the record is unrebutted that it was a District Attorney, not

    Defendant Valdez, who made the initial decision to charge Jonathan.

           However, Jonathan’s testimony established that Defendant Valdez did eventually appear

    and testify in a court hearing in the case against Jonathan. Jonathan had been detained at a

    juvenile correctional facility following the incident, and the hearing apparently concerned

    whether Jonathan should be released pending trial. According to Jonathan, Defendant Valdez

    testified at the hearing that he was “terrified” of Jonathan and he opposed Jonathan’s release.

    Jonathan was ultimately released, but was subject to a restraining order concerning Defendant

    Valdez, the contents of which were not otherwise described.




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           Jonathan brought two separate malicious prosecution claims. The initial malicious

    prosecution claims by all Plaintiffs – Claim 4 – concerned the Plaintiffs’ contention that the

    Defendants collaborated on a falsified story that would justify criminal charges being initiated

    against each of the Plaintiffs. As the Court understands it, Claim 4a, Jonathan’s “Continued

    Malicious Prosecution” claim, was based on Defendant Valdez’s efforts to oppose Jonathan’s

    release on bond – that is, that Defendant Valdez maliciously sought to prolong Jonathan’s

    confinement. See Novitsky v. City of Aurora, 491 F.3d 1244, 1258 (10th Cir. 2007) (elements of

    malicious prosecution under § 1983 are that “the defendant caused the plaintiff’s continued

    confinement or prosecution . . .”) (emphasis added). In this sense, the jury’s verdict is easily

    reconciled and consistent with the evidence: it apparently found that Defendant Valdez

    mischaracterized Jonathan’s actions during the incident in the course of completing his “probable

    cause statement” – in other words, that Defendant Valdez made statements without probable

    cause that led to Jonathan’s initial prosecution. However, the jury appears to have concluded

    that Defendant Valdez did so mistakenly or out of confusion or that he otherwise acted without

    malice; hence, the jury returned a verdict in his favor on Claim 4, the malicious prosecution

    claim arising from the initial filing of charges. On the other hand, the jury apparently concluded

    that Defendant Valdez’s statement at Jonathan’s bond hearing – that Defendant Valdez was

    “terrified” of the 15-year old – was both false and a malicious attempt by Defendant Valdez to

    prevent Jonathan’s release from custody. Although Jonathan was eventually released despite

    Defendant Valdez’s efforts, that release was somewhat circumscribed by a restraining order that

    was imposed at Defendant Valdez’s request, establishing an injury (however slight) to Jonathan

    sufficient to support a finding of Continued Malicious Prosecution on Claim 4a.




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            Accordingly, the Court finds no merit in the Defendants’ contention that the jury’s

    verdict is so internally inconsistent that a new trial is warranted.12

                    2. Actual damage award

            The Defendants argue that either a new trial or remittitur is required because the

    compensatory damages awarded by the jury were excessive. Remittitur or a new trial are

    appropriate remedies to cure a jury’s compensatory damage award that is “so grossly excessive

    as to shock the judicial conscience” or if it “raise[s] an irresistible inference that passion,

    prejudice, corruption, or other improper influence invaded the trial.” Prager v. Campbell County

    Mem. Hosp., 731 F.3d 1046, 1061 (10th Cir. 2013).

            The Court addresses the compensatory awards as categories. The first category consists

    of those damage awards that can only be attributed to the Unlawful Entry claim. All four

    Plaintiffs asserted this claim against all four Defendants, but the jury found that only Defendants

    Martinez and Valdez were liable to the Plaintiffs. Through process of elimination, it is possible

    to ascertain that the awards in favor of certain Plaintiffs against certain Defendants can only be

    tied to the Unlawful Entry claim. Specifically, (i) the award of $ 25,000 each to Nathan, Daniel

    III, and Jonathan against Defendant Martinez, and (ii) the award of $ 25,000 each to Nathan and

    Daniel III, and the award of $ 40,000 to Daniel Jr. against Defendant Valdez, can only be

    attributed to the Unlawful Entry claim.

            These awards are supported by substantial evidence: the record reflects that all four

    Plaintiffs were residents of the home, had possessory and privacy interests against intrusion into

    the home, and that all four were present when the Defendants unlawfully entered. All four



    12
            Because the Court finds no internal inconsistency, it need not address the Defendants’
    argument that mistakes by the jury in answering questions they were not required to consider
    constitutes further evidence of “jury confusion.”
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    Plaintiffs testified to being upset by the intrusion, thus warranting some award of damages as

    compensation for such upset. (The Court assumes that the higher award to Daniel Jr. reflects his

    status as head of the household and his seemingly greater privacy interest in controlling the flow

    of visitors into the home.)

           The Court cannot say that these awards shock the judicial conscience. They are, to be

    sure, generous awards for an intrusion that caused minimal property damage and lasted a fairly

    short period of time. At the same time, the Court cannot diminish the emotional distress that any

    citizen would feel when police officers forcibly entered one’s residence without justification or

    consent. The unreasonableness of this conduct is only magnified by the jury’s apparent

    conclusion that the Defendants tendered a spurious justification for the action (that they were

    merely attempting to perform a “knock-and-talk”) and the evidence that they overlooked pre-

    existing, readily-available information about a recent change in residents that would have

    dissipated, if not entirely ameliorated, the need for the visit itself or a forceful police presence

    during it. Under all these circumstances, the Court cannot say that the compensatory awards to

    these Plaintiffs on the Unlawful Entry claim shock the judicial conscience or reflect improper

    jury decisionmaking.

           The second category of awards are those that are, in large part, for False Arrest. Each of

    the Defendants was found liable for falsely arresting the individual Plaintiff they interacted with.

    Three of those awards can be meaningfully addressed here:

           • Defendant Martinez as to Daniel Jr., $ 60,000 (which, presumably, also includes an

    award for Defendant Martinez’s unlawful entry into the residence – given the jury’s awards on

    the other Unlawful Entry claims, it may be fair to assume that the jury valued the damages

    flowing from the false arrest itself at between $ 20,000 and $ 35,000),



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           • Defendant Motyka as to Nathan, $ 75,000, and

           • Defendant Jackson as to Daniel III, $ 40,000.

           It is undisputed that each of these Plaintiffs were arrested at the home, taken to the police

    station for booking, then detained in the Denver Jail for several hours until they were released on

    bond. The Plaintiffs’ injuries were primarily in the form of emotional distress, anxiety, and

    embarrassment.13 Once again, the Court cannot say that these awards are so excessive as to

    shock the conscience. Being unlawfully arrested and detained can readily be expected to result in

    considerable emotional distress and anguish for law-abiding citizens. Taking the evidence in the

    light most favorable to the Plaintiffs, the arrests occurred abruptly, forcefully, and without prior

    warning, rather than as the culmination of a lengthy standoff or prolonged interaction with the

    police, making the resultant stress all the more significant. In addition to the stress, anxiety, and

    fear that a improperly-arrested individual feels, the Plaintiffs testified about further emotional

    injury in the form of stigma in the eyes of family and neighbors, the humiliation of having to rely

    upon others to arrange bail, and the fear of further assault while incarcerated. Thus, under all of

    these circumstances, although the Court finds the jury’s awards to be generous (particularly the

    award to Nathan), the Court cannot say that they are so “grossly excessive” as to require relief.




    13
            Although certain Plaintiffs claimed to suffer physical injuries in the course of being
    arrested, the Court is not inclined to consider those injuries when evaluating the appropriateness
    of the damage awards because the jury also concluded that the Defendants did not use excessive
    force against the Plaintiffs during the encounter. The Court also declines to consider the anxiety
    that the Plaintiffs may have felt upon learning of the serious criminal charges actually brought
    against them and the potentially lengthy prison sentence each could face. The Plaintiffs
    particularly stressed the emotional distress that results from being charged with a crime carrying
    a lengthy minimum prison sentence, but the jury found that none of the Defendants were liable
    for Malicious Prosecution in regards to the initial charges brought against the Plaintiffs. Thus,
    any emotional distress felt by the Plaintiffs relating to the potential sentences they faced are not
    injuries for which the Defendants are liable.
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           Finally, there is the award of $ 200,000 in favor of Jonathan against Defendant Valdez.

    That award reflects compensation for three separate wrongs by Defendant Valdez: unlawful

    entry, the false arrest of Jonathan, and malicious prosecution arising from Defendant Valdez’s

    subsequent testimony in opposition to Jonathan’s release on bail. (As above, assuming the jury’s

    verdict roughly tracks the awards to other Plaintiffs on the Unlawful Entry and False Arrest

    claims, it may be that the $ 200,000 can be allocated as approximately $ 25,000 for Unlawful

    Entry, $40,000 to $70,000 for False Arrest, and $ 105,000 to $135,000 for Continued Malicious

    Prosecution.)

           Whether construed as a whole or as the hypothetical sum of its component parts, the

    award is considerably higher than any of the other awards in this case. But to some extent, the

    circumstances involving Defendant Valdez and Jonathan warrant a somewhat higher award than

    those given to other Plaintiffs. At the time of the events, Jonathan was 15 years old and slight of

    stature, making him more vulnerable to injury than the other Plaintiffs. By most accounts,

    Jonathan was the first of the Plaintiffs to be physically restrained by one or more of the

    Defendants. After being booked, Jonathan was not released on bail like the other Plaintiffs;

    instead, he was taken to a juvenile corrections facility and held for approximately a week. All of

    these facts suggest that Jonathan’s injuries could warrant a more significant damage award than

    that received by the other Plaintiffs. But perhaps most significant is the fact that, approximately

    a week after the incident – after adequate time for deliberation and reflection and time for

    tempers to cool – Defendant Valdez nevertheless testified at Jonathan’s bail hearing, seeking

    (maliciously, as the jury found) to prevent Jonathan from being released on bail. In such

    circumstances – an otherwise law-abiding 15-year old, falsely arrested and detained for a week,

    thereafter learning that a police officer was attempting to prevent him from being released on



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    bond14 – one would expect that the emotional distress suffered by Jonathan would be

    considerably more severe than that suffered by the other Plaintiffs. Perhaps even more so than

    the other awards, the jury’s award in Jonathan’s favor is undoubtedly generous, but given the

    considerable discretion vested in the jury and the particular circumstances presented here, the

    Court cannot say that the award crosses the line between generous and “grossly excessive.”

            Accordingly, the Court denies the Defendants’ motion for new trial on damages or

    remittitur.15

                    3. Punitive damage award

            The Defendants argue that the jury’s award of punitive damages, totaling $ 1.25 million,

    is excessive, particularly when measured against the jury’s award of actual damages in the

    amount of $ 540,000. The Defendants argue that the punitive damage award runs afoul of the

    Due Process clause of the U.S. Constitution.

            The Due Process clause prohibits the imposition of grossly excessive punishments on a

    tortfeasor.16 Jones v. United Parcel Serv., 674 F.3d 1187, 1206-07 (10th Cir. 2012). In analyzing



    14
            It is worth noting, of course, that despite Defendant Valdez’s efforts, Jonathan was
    released on bond, albeit subject to ankle monitoring and a restraining order that prevented him
    from going near Defendant Valdez. Thus, Jonathan’s injuries from the Continuing Malicious
    Prosecution claim would mostly be limited to the emotional distress suffered by Jonathan during
    the period of time between which he heard Defendant Valdez’s testimony opposing his relief and
    the time he learned he was nevertheless granted bail.
    15
            The Court summarily rejects certain arguments by the Defendants – e.g. that the Plaintiffs
    failed to mitigate their damages by not seeking post-incident counseling for emotional distress.
    This defense was presented to and considered by the jury, and any findings by the jury on that
    issue are necessarily incorporated into the verdict. Nor does the Court find any basis for
    questioning the jury’s awards merely because the Plaintiffs provided only their own testimony
    about the nature and extent of their emotional injuries.
    16
             In Hardeman v. City of Albuquerque, 377 F.3d 1106, 1111 (10th Cir. 2004), the court
    explained that a defendant can also challenge a punitive damage award under the common law
    (i.e. not by reference to the Due Process clause). A common law challenge invokes the same
    “shocks the conscience” or “improper influence” standard the Court cited with regard to the
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    the constitutionality of a punitive damage award, the Court examines the factors articulated by

    the U.S. Supreme Court in BMW of N. America, Inc. v. Gore, 517 U.S. 559, 574-75 (1996). Id.

    at 1207. Those factors are: (i) the degree of reprehensibility of the defendant’s conduct; (ii) the

    disparity between the actual harm suffered by the plaintiff and the punitive damage award; and

    (iii) the difference between the punitive damage award and the civil penalties authorized or

    imposed in comparable cases. Id. The Court will examine each in turn.

                           A. Reprehensibility

           The degree of reprehensibility is “the most important indicium of the reasonableness of a

    punitive damage award.” Gore, 517 U.S. at 575. In examining this factor, the Court considers a

    number of sub-factors, including whether the harm was physical or merely economic, whether

    the defendant acted with indifference to the health and safety of others, the financial

    vulnerability of the plaintiff, whether the conduct involved repeated actions or was an isolated

    incident, and whether the harm was the result of intentional action or mere accident. Jones, 674

    F.3d at 1207, citing State Farm Mut. Auto Ins. Co. v. Campbell, 538 U.S. 408, 419 (2004).

           The jury awarded different amounts of punitive damages against each of three

    Defendants (the jury awarded no punitive damages against Defendant Jackson), and thus, it is

    necessary to address the question of reprehensibility separately for each.

           Turning first to Defendant Motyka, the Court encounters an early obstacle. The jury

    awarded punitive damages to all four Plaintiffs against Defendant Motyka, in the amount of

    $62,500 for each Plaintiff. But the jury found Defendant Motyka liable only on one substantive

    claim – False Arrest – that was asserted only by Plaintiff Nathan Martinez. As to the claims for

    which all four Plaintiffs were claimants against Defendant Motyka – Unlawful Entry and


    compensatory award. Id. To the extent the Defendants raise this type of challenge in addition to
    a constitutional challenge, the Court’s conclusion would not differ from that set forth herein.
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    Malicious Prosecution – the jury found in favor of Defendant Motyka.17 Thus, because

    Defendant Motyka has no liability as to Plaintiffs Daniel Jr., Daniel III, and Jonathan Martinez

    on any claim asserted by them, the jury’s award of punitive damages (and, for that matter, the

    compensatory damages awarded as well) in their favor against Defendant Motyka cannot stand.

           Considering the reprehensibility of Defendant Motyka’s unlawful conduct as to Nathan –

    falsely arresting him – under the factors listed above, the conduct is of a fairly mild degree of

    reprehensibility. The false arrest of Nathan resulted in him being taken to the police station and

    processed. Although Nathan was subsequently charged with a crime and prosecuted , the jury’s

    verdict does not hold Defendant Motyka responsible for that decision. Thus, the scope of

    Nathan’s injuries are limited to the inconvenience of being falsely arrested for assault, taken to a

    police station, and booked. Although not solely economic in nature, those injuries are not

    necessarily “physical” either; the distress and anxiety that a falsely arrested citizen suffers are

    more of an emotional nature. Defendant Motyka’s act of falsely arresting Nathan occurred on a

    single occasion. The record reflects that the Plaintiffs generally, and Nathan specifically, are of

    limited financial means. The finding of false arrest necessarily required the jury to reject

    Defendant Motyka’s contention that he acted reasonably and in good faith based on what he

    perceived to be happening during the altercation, and the jury’s finding that he acted in reckless

    disregard of Nathan’s rights elevates this case somewhere above the label of “mere accident.”

    Taken as a whole, the factors suggest that Defendant Motyka’s conduct towards Nathan, while




    17
             The Plaintiffs argue that because Defendant Motyka was the supervising officer during
    the incident, he may be held liable for constitutional violations committed by the other officers
    under a “failure to intervene” theory. The Plaintiffs never articulated that distinct theory of
    liability in the pleadings or the Pretrial Order, never argued it at trial, and never presented it to
    the jury. Thus, the Court declines to unilaterally substitute a “failure to intervene” claim for
    those claims on which the jury found for Defendant Motyka.
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    certainly wrongful and worthy of discouragement, was of comparatively minor consequence, and

    thus, supports only a modest punitive damage award.

           Defendant Valdez’s liability here is multi-faceted. As to Plaintiffs Daniel Jr., Daniel III,

    and Nathan, Defendant Valdez is liable only for unlawfully entering the residence and disrupting

    these Plaintiffs’ privacy rights. Although the unlawful intrusion of police into a home can

    certainly give rise to anxiety and a feeling of insecurity, the injuries stemming from this action

    tip more to the economic side of the equation rather than the physical side, even more so than the

    injuries that result from a false arrest. Such conduct occurred on a single occasion. The jury

    rejected Defendant Valdez’s argument that the entry was the result of a mistaken belief that

    Daniel Jr. had consented to the officers’ entry, and apparently adopted the Plaintiffs’ argument

    that Defendant Valdez intended to enter the home regardless of Daniel Jr.’s actions, suggesting

    some degree of intentional misconduct. Taken as a whole, the conduct of Defendant Valdez as

    to Daniel Jr., Daniel III, and Nathan is of fairly mild reprehensibility, warranting only a fairly

    mild punitive damage award.

           As to Jonathan, Defendant Valdez’s conduct is more significant. In addition to

    unlawfully entering the residence Jonathan shared with his family, Defendant Valdez falsely

    arrested Jonathan and later exacerbated Jonathan’s prosecution by attempting to prevent him

    from being released on bond. Unlike the wrongs committed by Defendant Valdez as to the other

    Plaintiffs, his wrongs as against Jonathan were continuing in nature, with Defendant Valdez’s

    testimony opposing Jonathan’s release on bail occurring approximately a week after the incident

    in the home, giving time for tempers to cool and reason to prevail. In addition, the jury’s verdict

    on the Continuing Malicious Prosecution claim expressly found that Defendant Valdez acted

    maliciously towards Jonathan. By continuing his intentional, wrongful conduct as to Jonathan



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    after having had time for deliberation, Defendant Valdez evidenced a higher degree of

    reprehensibility and thus, is susceptible to a higher punitive damage award.

           Finally, Defendant Martinez falls somewhere in between. Like Defendant Valdez,

    Defendant Martinez was found liable to all four Plaintiffs for unlawfully entering their home,

    although the record reflects that he did so following behind Defendant Valdez, thus moderating

    the reprehensibility of his conduct slightly. He was found to have falsely arrested Daniel

    Martinez, Jr., but like Defendant Motyka, was not found to have maliciously prosecuted any of

    the Plaintiffs. As with the other Defendants, the conduct underlying the unlawful entry and false

    arrest claims are of a fairly mild degree of reprehensibility, warranting only a fairly mild punitive

    damage award.

                   B. Disparity between actual harm and punitive award

           Next, the Court examines the ratio of a punitive damage award to the compensatory

    award made by the jury. There are no bright-line ratios or concrete rules that limit the extent to

    which punitive damages may multiply actual damage awards, although the Supreme Court has

    suggested that “few awards exceeding a single-digit ratio . . . will satisfy due process” (although

    it stated that “an award of more than four times the amount of compensatory damages might be

    close to the line of constitutional impropriety”). State Farm, 538 U.S. at 425. In examining this

    factor, the Court should keep in mind the degree of actual harm suffered by the Plaintiffs and

    awarded by the jury: a particularly generous actual damage award might justify only a small ratio

    of actual damages to punitive ones, whereas a case involving compensatory damages of minimal

    economic value could support a more generous punitive award. Id.. Ultimately, this factor is

    one that requires consideration of the entire facts and circumstances of the case. Id.




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           Once again, it is necessary to examine the punitive damage award against each Defendant

    separately. Beginning with Defendant Motyka, once the Court strips away the improper awards

    to Plaintiffs other than Nathan, the Court is left with the jury’s award of $ 75,000 in actual

    damages to Nathan and $ 62,500 in punitive damages. Certainly, the less-than-1:1 ratio between

    the two does not “push the boundaries of due process requirements.” Jones, 674 F.3d at 1207-

    08. As to Defendant Valdez, the punitive awards of $ 100,000 each Plaintiff reflect a ratio of

    punitive damages to compensatory damages of 4:1 for Nathan, Daniel III, and Jonathan, and

    1.6:1 as to Daniel Jr. The former sits at the edge of what State Farm suggests is “close to the

    line” of impropriety (although apparently not over it), although the latter is certainly within the

    range permitted under Jones. The award against Defendant Valdez in favor of Daniel Jr.,

    Nathan, and Daniel III similarly falls at a ratio of 2.5:1 (as to Daniel Jr.) or 4:1 (as to Nathan and

    Daniel III), while the award to Jonathan grants punitive damages at a ratio of 1.5:1 compared to

    compensatory damages.      Thus, none of the punitive damages awarded reflect a facially-

    excessive ratio to actual damages awarded.

           However, that does not appear to be the end of the inquiry on this factor. In Jones, the

    10th Circuit considered a jury verdict in favor of an employee who had claimed that his

    termination was unlawfully retaliatory. The jury awarded the employee $630,000 in

    compensatory damages and $ 2 million in punitive damages. The 10th Circuit found that the ratio

    of compensatory to punitive damages was “probably” sufficient to survive constitutional

    scrutiny. 674 F.3d at 1208. But it found that because “the jury awarded Jones a substantial

    compensatory damage award in light of the injuries he had suffered,” the punitive damage award

    “was grossly excessive.” Id. Instead, it concluded that “a punitive damage award equal to the

    compensatory damage award is the maximum constitutionally allowable under these particular



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    facts.” Id.; see also State Farm, 538 U.S. at 425 (suggesting that “when compensatory damages

    are substantial, then a lesser ratio, perhaps only equal to compensatory damages, can reach the

    outermost limit of the due process guarantee”).

            As the preceding discussion reflects, it is this Court’s opinion that the Plaintiffs were the

    beneficiaries of fairly generous compensatory awards. There is no indication that any economic

    injuries suffered by the Plaintiffs went un-remedied and the Plaintiffs’ non-economic injuries

    arising from the successful claims are almost entirely emotional in nature. The record does not

    reflect that these emotional injuries have been debilitating in character or prompted the Plaintiffs

    to seek professional care, leaving the conclusion that the Plaintiffs manage them in the same way

    that any other person manages the lingering emotional effects of an upsetting event. Without

    intending to diminish in any way the seriousness of police officers committing constitutional

    violations of the type described here or the need for punitive damages to punish the Defendants

    for such conduct, the Court is compelled to conclude that the compensatory awards to the

    Plaintiffs are so substantial and complete that an award of punitive damages at a ratio of more

    than 1:1 would be excessive. Thus, the Court reduces the punitive damages award to the

    Plaintiffs to match, but not exceed the compensatory awards.

                    3. Comparable cases

            The Defendants cite to a variety of published cases in which courts have set aside smaller

    punitive damage awards in what would appear to be more egregious circumstances. The

    Plaintiffs cite cases in their response in which considerable punitive damage awards were upheld

    in various false arrest cases.

            Both parties appear to have missed the mark. This factor does not invite a race to the law

    library to find verdicts upheld or overturned in cases involving similar claims. As discussed in



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    BMW, this factor is premised upon the notion that “legislative judgments concerning appropriate

    sanctions for the conduct at issue” constitute an alternative “indicium of excessiveness.” 517

    U.S. at 583 (emphasis added). Thus, in BMW, a case involving deceptive trade practices, the

    Court considered “the maximum civil penalty authorized by the Alabama Legislature for a

    violation of its Deceptive Trade Practices Act,” finding that $ 2,000 penalty to be

    disproportionate to the “multimillon dollar penalty” assessed by the jury in that case. Id. at 584.

    Although Jones refers to a handful of reported cases it deems “analogous,” it does so mostly in

    support of its conclusion that it is appropriate to reduce punitive damages when the

    compensatory award has been found to be substantial, not for the purpose of comparing cases

    claim-for-claim or dollar amount-for-dollar amount. 674 F.3d at 1208.

            Even assuming that this factor required consideration of comparable cases, this Court

    sees little value in dissecting individual cases having little factual relation to the instant matter.

    See Smith v. Ingersoll–Rand Co., 214 F.3d 1235, 1252 (10th Cir.2000) (“We are hesitant to

    accept the invitation to undertake this comparative inquiry [as] such comparisons yield no insight

    into the evidence the jurors heard and saw or how they used it during their deliberations”).

    Having reviewed the cases cited by both parties, as well as its own independent research, the

    Court finds that there is no overwhelming consensus among courts that the particular amounts of

    damages awarded here are or are not excessive under similar circumstances. Because the Court

    is ultimately reducing the punitive damage award for other reasons, this factor has minimal

    significance in the analysis.18



    18
            The Defendants also argue that the Court should take into account the Defendants’ ability
    to pay a substantial punitive damage award. Although that factor is not one expressly identified
    in cases like BMW and Jones, the Court might be inclined to consider it in appropriate cases.
    However, the Defendants offer little evidence on this point, citing only to the salary ranges for
    Denver police officers. They do not address the particular financial situations of any of the
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           Thus, the Court concludes that the jury’s punitive damages awards violate the Due

    Process clause and must be reduced. Finding that the maximum permissible punitive award is

    one which matches the compensatory damage award, the Court reduces the awards to the

    following:




                     Type of             Defendant        Defendant       Defendant     Defendant
      Plaintiff
                     Damages             Martinez          Motyka          Jackson       Valdez

                      Actual             $ 60,000            $0               $0         $ 40,000

     Daniel Jr.      Punitive            $ 60,000            $0               $0         $ 40,000

                      Total              $ 120,000           $0               $0         $ 80,000

                      Actual             $ 25,000          $75,000            $0         $ 25,000

      Nathan         Punitive            $ 25,000         $ 62,500            $0         $ 25,000

                      Total              $ 50,000         $ 137,500           $0         $ 50,000

                      Actual              $25,000            $0            $ 40,000      $ 25,000

     Daniel III      Punitive            $ 25,000            $0               $0         $ 25,000

                      Total              $ 50,000            $0            $ 40,000      $ 50,000

                      Actual             $ 25,000            $0               $0         $ 200,000

     Jonathan        Punitive            $ 25,000            $0               $0         $ 200,000

                      Total              $ 50,000            $0               $0         $ 400,000



           Accordingly, the Defendants’ Motion for New Trial or Remittutr is granted in part and

    denied in part as set forth above.

    individual Defendants, nor discuss the availability of insurance, indemnification agreements, or
    other sources that might offset, in part or whole, the damage awards here. Indeed, in their reply
    brief, the Defendants concede that the City and County of Denver has agreed to indemnify them
    for punitive damages awarded against them. Thus, the Court finds that consideration of the
    Defendants’ financial situations does not materially affect the analysis herein.
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            B. Motion for Prejudgment Interest

            The Plaintiffs move for an award of prejudgment interest “from the date of the

    constitutional violations to the date of entry of final judgment.” They acknowledge that such

    relief is not available as of right, but rather, may be awarded at the discretion of the trial court.

    Zuchel v. City and County of Denver, 997 F.2d 730, 746 (10th Cir. 1993). In assessing a request

    for prejudgment interest, the Court first considers whether an award of prejudgment interest

    would serve a compensatory function, then it considers whether the equities would preclude such

    an award. Id.

            Turning to the compensatory question, the purpose of prejudgment interest is to

    compensate the wronged party for being deprived of the monetary value of the loss from the time

    of loss to the entry of judgment. Id. The Court will assume, without necessarily finding, that

    the jury did not necessarily include prejudgment interest as a component in any of its damage

    awards to the Plaintiffs. Although nothing in the jury instructions specifically precluded the jury

    from doing so, compare U.S. Indust., Inc. v. Touche Ross & Co., 854 F.2d 1223, 1257 (10th Cir.

    1988), the Plaintiffs did not itemize or request such interest as a component of damages in their

    closing argument and there is no reason to assume that the jury spontaneously chose to include

    such sums.

            But even if an award of prejudgment interest would serve a compensatory function, the

    Court finds that the continuing nature of the injuries claimed by the Plaintiffs here makes the

    equities of granting prejudgment interest unjust here. The Plaintiffs made clear that they were

    continuing to suffer emotional distress as a result of the incident as of the date of trial in 2014.

    For example, Nathan was asked “Is it hard on you emotionally today to be in the courtroom with

    the defendants?,” to which he answered “yes.” (Emphasis added.) He testified, using the present



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    tense, that “there is times that one of us will think about what is going on, sometimes when we

    see other cases on the news, it hurts, not knowing if something happened to them that shouldn’t

    have happened. And it just brings back memories to us, what happened to us.” The Plaintiffs’

    counsel returned to that theme in discussing the issue of damages in closing argument. Again

    speaking in the present tense, counsel described how Jonathan “doesn’t sleep at night. He

    watches out the window because he is afraid the police are coming. He can’t sit in this trial. . . .

    That’s the kind of pressure we’re talking about. What is that worth?”

           Thus, some portion of the jury’s award to the Plaintiffs reflects the value of emotional

    and other injuries the Plaintiffs sustained on or about January 27, 2009 and the days immediately

    following it; another portion of the jury’s award reflects injuries the Plaintiffs were continuing to

    sustain as recently as the date of trial in 2014 (and perhaps even after). Awarding prejudgment

    interest for the period from January 2009 to the present on the entire actual damage award would

    result in the Court granting interest on some damages for a period of time before the Plaintiffs

    actually suffered the corresponding injury. Arguably, the Court could attempt to dissect the

    damage awards in an attempt to determine what portion of the award related to injuries suffered

    in 2009 and what portion related to injuries suffered in 2010, 2012, or 2014, awarding varying

    amounts of prejudgment interest for each cohort of the award. But doing so would be an

    exercise in utter speculation given the mostly unquantifiable nature of the Plaintiffs’ injuries.

    Compare Barnard v. Theobald, 721 F.3d 1069, 1078 & n. 12 (9th Cir. 2013) (suggesting that the

    trial court could at least award prejudgment interest on that portion of an undivided award that

    likely reflected quantifiable past medical expenses). Without a meaningful way to apportion

    prejudgment interest to a holistic non-economic damage award covering injuries sustained over a




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    lengthy time period – and the Plaintiffs have offered none – the Court is inclined to deny

    prejudgment interest entirely.

           Accordingly, the Plaintiffs’ motion for prejudgment interest is denied.

           C. Attorney Fees

           Finally, the Court addresses the Plaintiffs’ Motion for Attorney Fees. The Plaintiffs

    request an award of fees in the amount of $ 477,997.50, reflecting approximately 1,200 hours

    expended by a variety of lawyers and paralegal staff at varying rates ranging from $ 300 to $ 500

    per hour for lawyers and $ 150 per hour for paralegals. The vast majority of hours sought are

    claimed by three attorneys: Mr. Lane, the Plaintiffs’ lead counsel, claims approximately 480

    hours at $ 500 per hour; Ms. Stimson, the Plaintiffs’ second-chair trial counsel, claims 196 hours

    at $ 350 per hour; and Mr. Mohamedbhai makes two separate claims for fees, one for 178.4

    hours at $ 350 per hour for the period of time during which he was associated with Mr. Lane’s

    firm, and a second period of 112 hours at $ 450 per hour for a time period after he left Mr.

    Lane’s firm and established his own practice.

           The Defendants do not dispute that the Plaintiffs are prevailing parties or are entitled to

    an award of a reasonable fee, but contend that the fees claimed by the Plaintiffs are excessive,

    both in rates claimed and hours spent, and that reductions should be made to the claimed sum for

    a variety of reasons, including the pursuit of unsuccessful claims (against these and former

    Defendants) and non-compensable time relating to Mr. Lane’s representation of the Plaintiffs in

    the criminal suit against them.

           In determining the reasonable fee that may be awarded, the Court applies the familiar

    “lodestar” analysis: first, the Court calculates a “lodestar” figure by multiplying a reasonable

    hourly rate by the number of hours reasonably incurred by the Plaintiffs’ counsel. See generally



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    Gisbrecht v. Barnhart, 535 U.S. 789, 801–02 (2002) (“the ‘lodestar’ figure has, as its name

    suggests, become the guiding light of our fee-shifting jurisprudence”); Hensley v. Eckerhart, 461

    U.S. 424 (1983). Second, the Court addresses whether that lodestar figure should be adjusted

    upwards or downwards based on the particular circumstances of the case, although adjustments

    to the lodestar figure are made only in unusual situations. Pennsylvania v. Delaware Valley

    Citizens' Council for Clean Air, 478 U.S. 546, 564–65 (1986). The goal of the exercise is to

    produce “an award that roughly approximates the fee that the prevailing attorney would have

    received if he or she had been representing a paying client who was billed by the hour in a

    comparable case.” Perdue v. Kenny A ex rel. Winn, 559 U.S. 542 (2010). The applicant seeking

    fees bears the burden of demonstrating that the hours expended and rates charged are reasonable.

    Mares v. Credit Bureau of Raton, 801 F.2d 1197, 1201 (10th Cir.1986).

            Although the Defendants challenge the fee award claimed by the Plaintiffs on a number

    of grounds, the Court will limit its analysis to those issues of the greatest significance. First, the

    Court addresses the Plaintiffs’ claim for compensation for time spent in handling the Plaintiffs’

    criminal defense. The Plaintiffs’ counsel in this action, anticipating the potential for a civil suit

    against the Defendants, elected to provide pro bono criminal representation to the Plaintiffs with

    regard to the state charges against them. The Plaintiffs’ counsel seeks compensation in this suit

    for that criminal defense, explaining that careful presentation of the criminal defense was

    necessary to ensure that the Plaintiffs’ civil claims would not be unduly compromised by the

    outcome of the criminal proceeding. As the Plaintiffs note, there is no general consensus as to

    whether fees incurred by counsel providing criminal defense to a person charged with a crime

    can be recovered in a § 1983 suit against law enforcement officials for constitutional violations

    committed during the arrest. Some courts refuse to award criminal defense fees. Ventui v.



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    Riordan, 702 F.2d 6, 9-10 (1st Cir. 1983) (“We conclude that nothing in the language or history

    of [42 U.S.C.] § 1988 or related case law supports an expansion of the sort that plaintiff urges”);

    Fletcher v. O’Donnell, 729 F.Supp. 422, 429 (E.D. Pa. 1990). Some courts permit the recovery

    as a compensable attorney fee. See Kerr v. City of Chicago, 424 F.2d 1134, 1141 (7th Cir. 1970)

    (“A plaintiff in a civil rights action should be allowed to recover the attorneys' fees in a state

    criminal action where the expenditure is a foreseeable result of the acts of the defendant”); see

    also Beltran Rosas v. County of San Bernadino, 260 F.Supp.2d 990, 993-95 (C.D. Ca. 2003),

    citing Castellano v. Frabozo, 311 F.3d 689, 710 (5th Cir. 2002), vacated en banc, 352 F.3d 939

    (5th Cir. 2003). Others reject the notion that the criminal defense fees are recoverable as attorney

    fees under 42 U.S.C. § 1988, but suggest that they might be recoverable if presented to and

    awarded by jury as economic damages suffered by the plaintiff as a result of a constitutional

    violation. See e.g. Greer v. Holt, 718 F.2d 206, 207 & n. 1 (6th Cir. 1983). The 10th Circuit has

    not addressed the issue, directly or otherwise.

           This Court agrees with those that have found that 42 U.S.C. § 1988 does not contemplate

    awards of attorney fees for criminal defense. That statute permits an award of attorney fees “[i]n

    any action or proceeding to enforce a provision of” specific civil rights statutes. 42 U.S.C. §

    1988(b). Criminal proceedings are not an “action or proceeding to enforce a provision” of a civil

    rights statute; at best, they are antecedents to such an “action or proceeding.” Alternatively, the

    Court finds some wisdom in the Greer approach, at least in ordinary cases where the § 1983

    plaintiff sustains actual economic damages by paying the fees of criminal defense counsel Such

    economic losses would properly be the subject of a jury award of damages for a constitutional




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    violation, just like any other out-of-pocket loss.19 The Court is least persuaded by the rationale

    of making such criminal defense fees compensable: besides requiring an extra-statutory

    construction of § 1988, this Court is concerned that reflexively hitching success in the criminal

    proceeding to compensability in the civil proceeding has the potential to generate perverse

    incentives that could undermine the function of the criminal justice system.20 (Moreover, were

    the Court to consider criminal defense time compensable, the Court would be inclined to make

    dramatic cuts in the amount of attorney time that could be claimed pursuing discovery of the

    related civil claims, as the Court would expect defense counsel to have thorough and intimate

    familiarity with the issues raised in the criminal case.) Without necessarily adopting any of the

    approaches, this Court finds that it is not appropriate to grant the Plaintiffs’ counsel

    compensation for the time spent on the Defendants’ criminal representation. The Defendants

    contend, without dispute from the Plaintiffs, that this time amounts to approximately 215 hours,

    approximately 57 of which are claimed by Mr. Lane and the remaining 158 hours by Mr.

    Mohamedbhai. The total value of this time is $ 83,800, which will be deducted from the amount

    claimed by the Plaintiffs.




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            The matter becomes more complicated where, as here, counsel renders a criminal defense
    pro bono in expectation of thereafter representing the civil rights plaintiff in a civil action. In
    such circumstances, the civil rights plaintiff has suffered no out-of-pocket loss, and thus has no
    basis for an economic damage award from a jury.
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            Among other things, giving a criminal defense counsel an economic interest in the
    outcome of the criminal proceeding raises concerns of champerty; poses ethical concerns relating
    to what is effectively a contingent fee in a criminal case, see Colo. R. Prof. Conduct 1.5(c) and
    Colo. R. Governing Contingent Fees 3(a); creates the potential of a conflict of interest between
    the attorney (who desires an acquittal/dismissal to advance the potential for a contingent fee
    recovery in the civil case) and client (who may benefit from accepting a plea agreement or plead
    guilty to a reduced charge); and could distort efforts to provide for pro bono or public
    representation of indigent criminal defendants (e.g. by inducing private counsel to undertake
    representation of only those criminal defendants who possess a colorable civil rights claim).
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           Second, the Defendants contend that a substantial reduction in the award sought by the

    Plaintiffs is appropriate to reflect the limited success achieved by the Plaintiffs. To some extent,

    the Court agrees. Most notably, the Plaintiffs brought a constellation of claims against the

    instant Defendants in their individual capacities and a claim against the City and County of

    Denver under a Monell theory. The Court granted summary judgment to the City on the Monell

    claim, thus rendering attorney time devoted solely to that claim to be non-compensable.

    Moreover, the Plaintiffs achieved only a limited degree of success on their substantive claims.

    The Plaintiffs asserted four primary categories of claims against the Defendants: (i) Unlawful

    Entry, in which the Plaintiffs prevailed against only two of the three Defendants named in that

    claim; (ii) Excessive Force, in which the Defendants prevailed in all respects; (iii) False Arrest,

    in which the Plaintiffs prevailed in all respects; and (iv) Malicious Prosecution, in which the

    Defendants prevailed on all four primary claims, but in which Jonathan succeeded against

    Defendant Valdez on a related claim.

           Although the Court agrees with the Plaintiffs that they achieved remarkable success in

    obtaining generous jury verdicts on the claims on which they succeeded, that is not the measure

    of success for the purpose of awarding attorney fees. The purpose of reducing a fee claim to

    reflect partial success is to eliminate compensation for hours spent solely in the pursuit of

    substantive claims on which the Plaintiffs did not prevail – the Excessive Force claim in its

    entirety and the Malicious Prosecution and Unlawful Entry claims in part. Here, the Court finds

    that there was substantial, but not complete, factual overlap between the unsuccessful Excessive

    Force claims and the successful False Arrest claims. To a large extent, the altercation that gave

    rise to the Excessive Force claims is the same altercation on which the Defendants predicated the

    arrest of the Plaintiffs for assault. Thus, only a minor reduction of hours claimed by the Plaintiff



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    is necessary to eliminate time spent unsuccessfully on the Excessive Force claim. The Court

    further finds that the Plaintiffs were almost entirely unsuccessful on the Malicious Prosecution

    claims, although, as noted above, the factual presentation at trial to support those claims was

    fairly superficial. Although the Plaintiffs were unsuccessful in asserting their Unlawful Entry

    claim against Defendant Motyka, relatively little time at trial was devoted to addressing facts

    relating solely to the reasons for Defendant Motyka’s entrance (as distinct from facts that related

    to the reasons for all Defendants’ entry). Assuming that the time spent in discovery on these

    factual matters roughly parallels the amount of time spent at trial presenting them, the Court

    finds that a wholesale reduction of 10% of the compensable hours claimed by the Plaintiffs

    would appropriately eliminate hours spent solely in pursuit of unsuccessful claims against the

    individual Plaintiffs.

            The Court also agrees in part with the Defendants that another reduction in the hours

    claimed is necessary to reflect the Plaintiffs’ lack of success on their Monell claim. The

    Plaintiffs argue that Judge Blackburn found that a plaintiff’s success on an individual excessive

    force claim against a City of Denver law enforcement employee, but the plaintiff’s loss of its

    Monell claim against the City on summary judgment did not warrant a reduction of the plaintiff’s

    claimed hours spent to reflect partial success because the individual and Monell claims were not

    “distinct in all respects,” but rather, were “two sides of the same coin.” See Duran v. Kohler,

    D.C. Colo. Civ. Case No. 10-cv-01569-REB-KMT, Docket # 151 (Aug. 25, 2014).

            With all the respect due to Judge Blackburn, this Court’s analysis differs. A Monell

    claim requires proof of a substantive constitutional violation by an individual state actor, but it

    also requires additional proof of facts establishing a basis for municipal liability. Such claims

    often require extensive factual analysis of municipal policies, training, or supervision – facts that



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    would not necessarily be discovered or presented in a case alleging only individual capacity

    liability. However, it is likely that that, notwithstanding their loss on the Monell claim, some of

    the materials Plaintiffs obtained in discovery on that claim proved to be useful at trial, allowing

    them to cross-examine the Defendants on their apparent non-compliance with City policies and

    training. Thus, although the Court finds that some of the time spent by the Plaintiffs on their

    unsuccessful Monell claim is not compensable, the Court finds that only a minor reduction – 5%

    of the total hours claimed-- is necessary to excise those hours.

           Finally, the Court finds various instances in which the number of hours claimed for

    particular tasks are excessive, such as 47.5 hours for interoffice conferences, nearly 80 hours for

    preparation of a Pretrial Order, and an additional 76 hours spent on paralegal time preparing trial

    exhibits. It being impossible to effectively isolate and identify each instance of excessive hours,

    the Court finds that another small wholesale reduction in hours is appropriate. The Court finds

    that eliminating 5% of the claimed hours as a whole will accomplish this task.

           Thus, the Court finds that the appropriate lodestar calculation in this case yields a

    presumptive fee award of ($ 477,997.50 - $ 83,800) * .8 = $ 315,358.00. Although the Plaintiffs

    contend that the lodestar calculation should be enhanced in this case, owing to “the daunting task

    of seeking justice for an extremely problematic case” and the contingent nature of the fee

    arrangement, the Court disagrees. Civil rights cases of this type are fairly common in this

    District and there appear to be no shortage of counsel willing to bring them.

           Accordingly, the Court grants the Plaintiffs’ motion for attorney fees in the amount of

    $315,358.00. The Plaintiffs have not made a separate showing as to what costs not taxed by the

    Clerk of the Court should be reviewed here, and thus, the Court denies the Plaintiffs’ motion to

    the extent it seeks excess costs.



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                                            CONCLUSION

           For the foregoing reasons, tthe Plaintiffs’ Motion for Prejudgment Interest (# 140) is

    DENIED. The Defendants’ Motion for New Trial or Remittitur (# 145, as amended # 146) is

    GRANTED IN PART AND DENIED IN PART as set forth above. The Plaintiffs’ Motion for

    Attorney Fees and Costs (# 156) is GRANTED IN PART, insofar as the Court awards the

    Plaintiffs $ 315,358.00 in attorney fees pursuant to 42 U.S.C. § 1988. Judgment consistent with

    this Order shall enter contemporaneously herein.

           Dated this 27th day of August, 2015.
                                                        BY THE COURT:




                                                        Marcia S. Krieger
                                                        Chief United States District Judge




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